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 1 Brian E. Klein (Bar No. 258486)
    bklein@bakermarquart.com
 2 Ashley E. Martabano (Bar No. 236357)

 3 amartabano@bakermarquart.com
   BAKER MARQUART LLP
 4 777 S. Figueroa Street, Suite 2850
   Los Angeles, California 90017
 5 Telephone: (424) 652-7800
   Facsimile: (424) 652-7850
 6

 7 Attorneys for Shariq Shahab Hashme

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 9                               UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13 UNITED STATES OF AMERICA,                      Case No. 19-CR-552-WHA

14          Plaintiff,                            DEFENDANT SHARIQ HASHME’S
                                                  SENTENCING MEMORANDUM
15     v.

16 SHARIQ SHAHAB HASHME,
                                                  Hearing Date: February 18, 2020
17          Defendant.                            Hearing Time: 9 a.m.

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 1                                           INTRODUCTION

 2          Shariq Hashme is a very kind, bright, and giving young man who has deeply reflected on the

 3 unlawful and reckless actions that have brought him before the Court for sentencing. This is his

 4 first run-in with the criminal justice system, and he is being sentenced on a single count of a wire

 5 fraud, pursuant to an information, tied to his theft of approximately $56,000 from his then-

 6 employer, Scale AI, Inc. (“Scale”). Shariq acknowledges that he committed a serious crime,

 7 accepts full responsibility for his actions, is deeply remorseful, and will personally address the

 8 Court on these matters at his sentencing.

 9          But before Shariq does, the Court will read below and in the attached letters about what a

10 remarkable young man Shariq is, his genuine remorse for his crime, and his generous nature,

11 including his significant contributions to the communities of which he is a member. He committed

12 this crime – admittedly, while suffering from a total lapse of judgment – because he felt like he

13 needed some extra money for expenses, and foolishly, and to his deep and ever-lasting regret,

14 decided not to seek funds through legitimate means such as asking for assistance from family and

15 friends. This crime was an aberration and does not accurately reflect who Shariq is and will be

16 going forward.

17          Shariq’s family, friends, and many others, including over a dozen former colleagues at Scale

18 (the victim in this case), paint an incredibly moving and positive portrait of this 26-year-old man.

19 Indeed, the outpouring of letters for such a young man is noteworthy on its own—over 70 people

20 have written the Court on his behalf, attesting to his good character and requesting leniency.

21 Although Shariq regrettably strayed far from his true character and seriously let down so many by

22 stealing from his then-employer, the letters submitted to the Court on his behalf also show he is

23 committed to moving forward in life with resolve to never do anything like this again.

24          In considering what he did and to whom, it bears pointing out that Scale submitted a letter,

25 through its CEO, asking the Court to not sentence Shariq to any prison time. Scale, in fact, did not

26 even want him prosecuted (it would have simply terminated him and had him repay the money), and

27 even after he was arrested on this charge, Scale offered him a $10,000 severance, which Shariq

28 turned down because he understood his serious misdeed and the need to try to make things right. In

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 1 addition to turning down a severance, Shariq also repaid Scale in full soon after pleading guilty, and

 2 would have done so earlier but for discussions with the government about how to resolve this case.

 3          Overall, there are numerous compelling reasons why Shariq should be sentenced to a non-

 4 custodial sentence based on the factors set forth in 18 U.S.C. § 3553(a), as discussed in detail

 5 below. Those reasons revolve around the totality of who Shariq is as a person and who he can still

 6 be; his acceptance of responsibility; and a number of unique circumstances. Those unique

 7 circumstances include the fact that Shariq promptly paid the company back in full, Scale does not

 8 seek for Shariq to serve prison time, and he has already suffered serious consequences that will stay

 9 with him the rest of his life. Those consequences include the loss of a job he loved and the fact that

10 as a United Kingdom citizen who committed a felony, Shariq will almost surely never be able to

11 return to this country, where he has lived since graduating from high school and where he has close

12 family whom he will likely never be able to visit again (including a brother, and grandparents who

13 are unable to travel due to health issues and who he has been unable to visit due to his pretrial

14 release conditions). For these reasons, the Court should sentence Shariq to 100 hours of community

15 service rather than any prison time, with no restitution necessary because it has already been paid,

16 and no fine imposed due to his inability to pay such.1

17                                               DISCUSSION
18 1.       Sentencing Framework and PSR
19          The advisory sentencing guidelines are merely “one factor among the § 3553(a) factors that
20 are to be taken into account in arriving at an appropriate sentence.” United States v. Carty, 520

21 F.3d 984, 991 (9th Cir. 2008). “[T]he history and characteristics of the defendant” are considered

22 alongside “the nature and circumstances of the offense.” 18 U.S.C. § 3553(a)(1). “The overarching

23 statutory charge for a district court is to ‘impose a sentence sufficient, but not greater than

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28   1
      Although the plea agreement states that restitution may exceed the $56,111.03, defense counsel
     understands this is the total amount of restitution due.
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 1 necessary’ to reflect the seriousness of the offense, promote respect for the law, and provide just

 2 punishment; to afford adequate deterrence; [and] to protect the public. . . ” Carty, 520 F.3d at 991.

 3             On February 4, 2020, the Probation Office provided the parties with the final Presentence

 4 Investigation Report (“PSR”). Consistent with the plea agreement, the PSR has calculated an

 5 advisory guidelines total offense level of 11, resulting in a sentencing range of 8 to 14 months in

 6 Zone B, which permits non-custodial probationary sentences to be imposed. In its sentencing

 7 recommendation, the Probation Office has recognized that the advisory sentencing guidelines range

 8 is too high by recommending a prison sentence of 2 months. In recommending that sentence, the

 9 Probation Office did not address the fact that Scale does not wish Shariq to serve any prison time

10 (and even did not want him prosecuted). Taking that into account, as well as other factors discussed

11 below, a thorough and fair consideration of all the § 3553(a) factors warrants a non-custodial

12 sentence of significant community service.

13 2.          Shariq Hashme’s Personal History and Characteristics

14             Pursuant to 18 U.S.C. § 3553(a)(1), in arriving at a sentence that is “sufficient but not
15 greater than necessary” to comply with the purposes of federal sentencing, the Court “should

16 consider the nature and circumstances of the offense and the history and characteristics of the

17 defendant.” Id. (emphasis added.) Here, the Court should listen to the voices of the many people in

18 Shariq’s life who have come forward to tell the Court about his admirable qualities and numerous

19 prior good deeds that have had significant impact on the lives of many others.

20         a. Upbringing, Schooling, and Work History
21             Shariq has a strong family support network and the education and skills to ensure he will
22 lead a productive life. He is a citizen of the United Kingdom, but he was born and raised in Riyadh,

23 Saudi Arabia, along with his three siblings. They lived in a good neighborhood with excellent

24 schools. (PSR ¶¶ 32-33.) Shariq lived there until moving to the United States to attend college.

25 (Id.) His father is a general manager and his mother is a homemaker. (Id.) Shariq’s siblings are

26 Ibrahim (age 24), F. (age 15), and Y. (age 12).2 (Id. ¶ 32.) Ibrahim currently lives with Shariq in

27

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     2
         F. and Y. are minors, so their names are redacted.
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 1 San Francisco where he works as a software engineer. Shariq and his siblings have strong

 2 relationships as evidenced by the letters submitted by the two oldest ones. (Ex. A, Letters of

 3 Ibrahim and F.)3

 4          Growing up and to this day, Shariq has been a hard worker—excelling in school and

 5 actively seeking to improve the lives of his fellow students and community members. He was a

 6 high achiever in school and an active student. In addition to earning excellent grades, Shariq played

 7 table tennis competitively, edited his school newspaper, was the president of the Toastmaster’s club,

 8 led his school’s chess club, and was both vice president and president of his school’s student

 9 government. (Id. ¶ 33.) Shariq learned how to code by teaching himself in his spare time, outside

10 of school. (Id.)

11          In 2015, Shariq received a Bachelor of Science Degree in Electrical Engineering from the

12 University of Maryland. (Id. ¶ 42.) While there, Shariq sought to foster and contribute to the

13 community there. One of his closest friends, Mackenzie Burnett, describes just a few of these

14 important contributions:

15                 My earliest memory of Shariq was in 2013, when I walked into a
                   community room at University of Maryland, College Park (UMD). Shariq
16                 stood in front of a whiteboard, waving his arms and talking about how we
                   were going to plan the biggest computer science competition in the world
17
                   in just a few months. Shariq’s idea ended up catalyzing the creation of
18                 Bitcamp (bit.camp), one of the largest collegiate computer science
                   competitions in the United States, which since 2014 has helped introduce
19                 thousands of high school and college students to computer science and
                   other engineering careers. Throughout college, Shariq worked tirelessly to
20                 build the computer science and engineering community, from creating
                   Collider, a physical community space at UMD, to organizing hundreds of
21
                   students to go to weekend computer science competitions for free around
22                 the United States. Shariq would frequently go himself to these
                   competitions, where he would either try to build something so ambitious
23                 that he couldn’t complete it, or he would win the entire competition
                   among a pool of thousands of students. Shariq cares deeply about
24                 spending his time on the most important work he can, whether that is at a
25                 computer science competition or in his professional career. Shariq has
                   always dreamt big, and he pushes those around him to dream big.
26

27
     3
     Exhibits A (Family Letters), B (Scale Letters) and C (Friend, Mentors, Mentees, and Colleagues
28 Letters) are organized alphabetically by last name. An index of the letters has been provided at the
   start of each exhibit.
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 1 (Ex. C, Letter of Mackenzie Burnett). Another friend, Anthony Castrio, provides more detail on

 2 Shariq’s contributions to the community, as well as its personal impact on him:

 3                  Shariq was the organizer and founder of a student-run computer science
                    and technology interest group which facilitated weekly buses to
 4                  technology competitions around the country. At the end of my first
                    semester I reached out to Shariq through social media to thank him for
 5
                    starting the group and helping me find my place on campus.
 6
                    Shariq wouldn’t accept praise; instead he directed me to another
 7                  organization he had founded on campus, where I could give back to the
                    student community and help engage other students. That organization was
 8                  called Bitcamp, now a registered non-profit in the state of Maryland.
 9                  Bitcamp would go on to introduce thousands of students to careers in
                    technology, and influenced the eventual founding of a sister organization,
10                  Technica, also a registered Maryland non-profit.

11                  My experience volunteering with, and eventually leading Bitcamp, turned
                    out to be my most formative experience in University. Shariq set me on a
12                  path towards leveraging entrepreneurship and community-building to
13                  improve the world around me that continues to affect my career trajectory
                    on a daily basis. Far from an isolated event, I know Shariq has impacted
14                  those around him for the better, and he has continued to be a source of
                    guidance and inspiration for me personally.
15
     (Ex. C, Letter of Anthony Castrio.) Even the then-chair of the Computer Science Department at
16
     University of Maryland (and now the chair at Northwestern), Samir Khuller, wrote a letter attesting
17
     to Shariq’s contributions to University of Maryland: “This [the Terrapin Hacker club] has provided
18
     a community and immense value to hundreds of students at the University. In addition, Shariq
19
     helped launch the first Bitcamp in 2014 at UMD, and I can confirm that he was part of the small
20
     leadership team to help create the event. The event then lead [sic] to Technica, the largest all-
21
     women event on the East Coast for women interested in computing.” (Ex. C, Letter of Samir
22
     Khuller.)
23
            After college, Shariq has continued to contribute to the coding community, mentoring
24
     students, volunteering at coding events, all while working at Scale and elsewhere. Before Scale, he
25
     held a series of jobs and internships in the field of technology. Of note on the volunteering front,
26
     since his early 20’s, Shariq has been actively involved with Interact, a group of young technologists
27

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 1 working for the betterment of society through technology,4 and the food drive for the Glide

 2 Memorial Church. (PSR ¶ 36.) Indeed, his efforts have been so notable, the Probation Office

 3 recognized them as a reason to recommend a sentence significantly below the advisory guidelines.

 4 (PSR Sentencing Recommendation at 2.)

 5          Shariq currently rents a two-bedroom apartment in San Francisco with his brother, Ibrahim,

 6 and continues to live a modest lifestyle. While on pretrial release and unable to work full time due

 7 to his immigration status, Shariq has dedicated himself to building and coding a low-cost robot

 8 designed for household help and elderly care. He has a working initial protype and a video of it that

 9 can be shown to the Court at sentencing. Shariq is an individual who can do more good for the

10 community—and potentially, the world at large—by staying out of prison and putting his unique

11 problem-solving and technological talents to good use.

12          The letters set out below provide a full picture of a generous individual who is eager to

13 contribute not only to those he knows, but to strangers and humanity on a broader scale.

14       b. Supportive Testimonials: Family, Friends, and Others (Exhibits A-C)

15          Attached as Exhibits A, B and C are letters to the Court from 71 people who know Shariq

16 well, including his family members (Exhibit A – 7 letters), and his former employer and colleagues

17 at Scale (Exhibit B – 14 letters). Despite his arrest and the burdens it has imposed on them,

18 Shariq’s close family members remain 100% supportive. Further, despite seriously breaching

19 Scale’s trust and stealing from them, Scale’s CEO has written a powerful letter attesting to Shariq’s

20 character, and asking, on behalf of the company, that he not be sentenced to prison time. The same

21 is true of numerous former colleagues at Scale. Those letters collectively tell of his smarts, drive,

22 generosity of time and spirit, and care for others.

23          Exhibit C contains moving letters from 50 people from other quarters of Shariq’s life,

24 including schoolmates, mentors, mentees, and friends he met through his jobs, school, mentoring,

25 hobbies, and other activities. People who have written letters on behalf of Shariq include

26

27   4
    Interact is a highly competitive fellowship program that only accepts the top candidates from
28 around the country after an involved vetting process that includes an application and interview.
   (Ex. C, Letter of Noor Siddiqi.)
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 1 professors, attorneys, engineers, Thiel Fellows, entrepreneurs, non-profit founders, and mentees.

 2 They view society as better with him in it and strongly believe he is remorseful for his actions and

 3 will never do anything like this again. Many are saddened that Shariq will not remain in the United

 4 States as part of their active communities, but they all intend to maintain their relationships with

 5 him.

 6          Collectively, the letters in Exhibits A-C leave no doubt that despite the serious crime he has

 7 committed, Shariq has consistently touched and inspired people around him, and those individuals

 8 have not forgotten him. They will be there for him when he emerges from this period in his life to

 9 start his life anew, and he is committed to not letting them down.

10                    i.     Scale’s Opinions of Shariq and on the Appropriate Sentence

11          Based on defense counsel’s almost twenty years of criminal practice experience, which

12 includes time as a federal prosecutor, it is exceedingly rare for a victim of a financial crime to

13 submit a letter of support for a defendant, but this is such a case. In fact, Scale and its current and

14 former employees have submitted 14 letters in support of Shariq and they speak volumes.

15          Scale’s Founder and CEO, Alexander Wang, has submitted a letter on the company’s behalf,

16 which explains that despite Shariq’s crime, Scale recently had included him as an inventor on a key

17 patent and offered him a $10,000 severance after he was arrested (a generous offer that Shariq

18 declined due to his desire to try to make amends and in recognition of the wrongfulness of his

19 actions); had they known Shariq was the thief, they would not have pressed charges; and he believes

20 Shariq is remorseful and has been punished significantly already. The short, powerful letter speaks

21 for itself:

22                  I founded Scale AI in 2016 and Shariq Hashme joined my team as the 14th
                    employee in November 2017. Shariq is a brilliant engineer who worked
23                  hard and was a valuable member of the team. He made significant
                    contributions to our technical infrastructure and business operations. Scale
24
                    recently named Shariq as an inventor on a key patent that we filed
25                  confidentiality [sic] with the US Patent & Trademark Office. He was a
                    valued member of the Scale team and a friend to many.
26
                    Setting aside what brings Shariq before the Court to be sentenced, I have
27                  always known Shariq to have been a kind person of good character. He is
                    also a personal friend. Shariq has apologized to me and many other
28
                    teammates at Scale in the last few weeks. I believe Shariq is genuinely
                                                        7
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 1                  remorseful for his crime, and I have no reason to believe he will ever do
                    something like this again. Scale takes what happened here seriously, but
 2                  we do not wish to see the Court impose prison time on Shariq. Shariq has
                    suffered serious consequences for his actions, including losing his job, his
 3
                    stock options, and our company’s sponsorship for his green card
 4                  application. Had Scale discovered Shariq had been stealing, we would
                    have simply terminated his employment and asked him to repay the
 5                  money.
 6                  In addition, as part of Shariq’s termination, the company offered him a
                    $10,000 severance. We offered this severance, knowing of the seriousness
 7
                    of the charges, because he was a valued member of the team and we
 8                  wanted to support him while he was unemployed. He declined to accept
                    the severance. He has also repaid the full amount that he took from Scale.
 9                  We believe that each of these are examples of Shariq’s remorse and
                    reconciliation.
10

11 (Ex. B, Letter of Alexander Wang.) In light of all of this, Mr. Wang requested that the Court

12 impose a non-custodial sentence on Shariq. (See also, Ex. C, Letter of Victor Montoya).

13          Other Scale letters submitted bear out Mr. Wang’s statement that Shariq “was a valued
14 member of the Scale team and a friend to many.” (Id.) Jeff Hilnbrand, a design manager at Scale

15
     and longtime friend, explains that despite it all, Shariq still has his complete trust and friendship.
16
     Jeff described meeting Shariq in March 2013 at “a startup incubator called Startup Shell at our
17
     college, University of Maryland.” (Ex. B, Letter of Jeff Hilnbrand.) And he adds:
18

19                  Soon thereafter, Shariq and I found ourselves at a technology competition
                    for students. While I began designing an inconsequential social app,
20                  Shariq, a more experienced programmer, was already making ground on
                    his ambitious social impact project: a HIPAA Document Viewer that, in
21                  his words, “[helps] medical staff distribute and manage access to sensitive
                    medical documents.” He even found time to mentor me and neighboring
22
                    teams.
23
     (Id.) Jeff also details Shariq’s approach to technology – as a way to help others and build
24
     community – a view shared by many others who wrote letters to the Court:
25
                    Shariq has always viewed technology as a way to help others and build
26                  community. He went on to found a thriving organization to assist students
                    through the learning and logistical planning needed to participate in such
27                  technology events. He was also an active member of Startup Shell, of
                    which I was now Executive Director, and we supported each other in
28
                    growing our partner clubs.
                                                         8
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 1
                    …. Shariq genuinely cares about the gig workers using Scale’s service,
 2                  initiating brainstorms on how to better treat our workforce and provide
                    more economic opportunity. Shariq was the first to review a set of
 3
                    principles for ethical AI data labeling and authored a blog post called
 4                  “Positive Externalities” (scale.com/blog/positive-externalities ) that
                    outlines the good we do for people in emerging markets around the world.
 5
     (Id.) Jeff adds that even now, those at Scale think of him fondly, revere his work, and speak of him
 6

 7 as an example to be followed for new employees:

 8                  To this day, Shariq is remembered fondly at Scale by those who were
                    fortunate enough to work with him. He is revered on the engineering team
 9                  and spoken of highly to new hires as an exemplar of dedication, speed,
                    talent, and thoughtfulness. Despite his poor decision making towards the
10                  end of his tenure with the company, Shariq is recognized more for his
11                  character and positive contributions, as his original code is still core to our
                    product. He helped Scale grow from a couple dozen people to a
12                  meaningful job creator for over 150 current employees with a $1 billion
                    valuation.
13
                    Shariq exercised poor judgment and knows what he did was wrong. He is
14                  deeply regretful, has been cooperative with the legal system, and is eager
15                  to make right.

16 (Id.)

17           Scale employee Rilka Li describes how Shariq had gone above and beyond outside of work,
18 on a service trip: “It is difficult for me to explain how special I feel this is, in a person. He chose to

19
     spend his time performing a logistically difficult, physically demanding activity for the simple
20
     reward of bringing unexpected joy to strangers and friends alike.” (Ex. B, Letter of Angela “Rilka”
21
     Li.) She explains that he “inspire[ed] everyone with how fully he embraced silliness and
22

23 seriousness and hard work,” continuing:

24                  Always, I am struck by the depth of Shariq’s curiosity in learning about
                    other people and helping them face their fears and anxieties, and achieve
25                  their dreams. Above, I introduced myself as Rilka. It is a name I’ve only
                    adopted in this past year, and only because Shariq catalyzed my use of it.
26
                    My birth name made me unhappy; Shariq learned this about me during
27                  one of those sprawling conversations, and nudged me, a year ago, to start
                    telling others about the name I wanted instead. Because of him, I am now
28                  comfortable with my new name and all that comes with it.

                                                         9
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 1
                    Your Honor, I know that Shariq pleaded guilty to a serious federal crime. I
 2                  believe not a day goes by that he doesn’t think about his actions and feel
                    regret for having breached the trust of his friends and coworkers. I hope
 3
                    that, in light of the deep positive impact he has had on his communities
 4                  and on the lives of those he meets, and the positive change that I believe
                    he can and will yet effect on the world, you will consider imposing the
 5                  most lenient sentence the Court deems to be appropriate.
 6                  My life is so much better for having met Shariq. He has pushed me to
                    reexamine my values and to rigorously live by them. His kindness, wit,
 7
                    and sense of humor have helped me through many mental and emotional
 8                  challenges…. I believe that many people who meet Shariq feel similarly
                    to me: that he’s not just another person, that knowing him changes you,
 9                  makes you more thoughtful, more resilient, more creative, more alive. I
                    will always be proud to call him my friend.
10

11 (Id.)

12           David Kinsella, another early Scale employee, wrote a lengthy letter describing how his

13 generous spirit and thoughtfulness helped foster his relationship with his now wife. As with others,

14 Shariq put someone else’s needs before his own:

15
                    When I first joined Scale, I had recently become engaged to my now wife.
16                  And despite this being a wonderful development, Scale was adding a
                    tremendous strain -- grueling hours, unending work weekends, and a
17                  constant, palpable sense of dread that the whole thing might go under at
                    any minute. To top it off, my wife’s brother became deathly ill, which
18                  further weighed on things.
19
                    Yet throughout it all, Shariq consistently singled me out and tried to create
20                  space for me and my wife. He would tell me to go home early. He would
                    regularly take on more than his fair share of the work. I remember one
21                  particularly tense moment where it became clear that we had to send a
                    small strikeforce to the Philippines. It was unclear how long they’d had to
22
                    be gone for, but they had to go now. The responsibility ostensibly fell on
23                  me, along with Shariq and one other individual. Without hesitation, Shariq
                    volunteered to handle it solo and told me to stay at home with my wife.
24                  Less than 12 hours later he was on a plane.

25                  I’m not sharing this to praise Shariq’s work ethic, but his thoughtfulness.
                    There is an unspoken pact in startups that everyone works extremely hard
26
                    -- people don’t ask people to work weekends, they just do it. People don’t
27                  praise late hours, they just do it. It simply happens. And when most startup
                    employees are young, single, twenty-somethings without other
28                  obligations, it becomes particularly easy to simply assume that this is the

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 1                  way of things. But time and again, Shariq stepped outside of himself and
                    would explicitly look out for my--and my wife’s--well-being. I will
 2                  always be grateful for the compassion and empathy he showed me.
 3
     (Ex. B, Letter of David Kinsella.)
 4
             Scale Software Engineer Ashkat Bubna explains that work contributions are not the most
 5
     important part of Shariq’s contributions:
 6
                    If this was not enough, Shariq is not satisfied with just the technological,
 7
                    research or financial impacts of his work. He cares deeply about the
 8                  humanitarian impact as well. Our work involves thousands of remote
                    contractors around the world, who work on our platform. Shariq has
 9                  always cared about their wellbeing and happiness. He contacted some of
                    them to interview them about their experience, which he published in a
10                  blog post: https://scale.com/blog/positive-externalities. Hopefully all of
11                  this demonstrates that through his work, Shariq has created a ton of value,
                    not just for the company, but for the United States and the world as a
12                  whole.

13 (Ex. B, Letter of Ashkat Bubna.) Shariq’s humanitarian focus on the benefits of technology was

14 apparent to many. As with other employees, Shariq had a direct personal impact on Mr. Bubna as

15
     well:
16
                    In addition to his own contributions, he has also had a lot of positive
17                  impact by inspiring others around him to dream bigger, work on ambitious
                    projects, and apply themselves to the hardest problems facing our world. I
18                  can personally attest to this, as for a while we were the only two engineers
19                  on a team, and working with Shariq transformed the way I saw my own
                    work; it made me think a lot more about who my work was affecting, and
20                  what the goal I was striving towards was. Its [sic] not just me — two of
                    my co-workers have this anecdote of meeting Shariq about six years ago,
21                  on the bus to a high school programming competition, and feeling inspired
                    to do more with their lives, and eventually become software engineers.
22

23 (Id.) Another Scale employee, Yu-Lin Kuo, had this to say, “When asked to describe Shariq, the

24 first things that come to mind are his positivity and his love and dedication to the company. It was

25 tough to believe what he did.” (Ex. B, Letter of Yu-Lin Kuo). Shariq had helped Yu-Lin find her

26 place at Scale and was her advocate when seeking to transition to full-time status. “My experience

27 at Scale would not have been the same without Shariq being a part of it, neither would my

28 professional career.” (Id.) Like others, Yu-Lin believes Shariq is remorseful and will never do this

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 1 again. “Even to this day, I still hit up Shariq and ask him questions about how he’d handle difficult

 2 situations I’m facing at work. I understand that he has committed a serious federal crime, but I do

 3 believe that if we give Shariq a second chance, he will live the rest of his life with the best

 4 behavior.” (Id.)

 5          These letters are only a sampling of those written by Scale and its employees. Universally,

 6 they feel that Shariq is remorseful and has tried his best to rectify his crime. And, of course, it bears

 7 keeping in mind that Scale would not have pressed charges had it known Shariq was the responsible

 8 party from the start and does not now wish for him to serve any prison time.

 9                    ii.     Dedication to Family

10          The letters from Shariq’s parents, Ayaz Majeed and Farhana Taj Alvi; siblings, Ibrahim and

11 F.; and aunts Talia, Raida and Faiza Alvi, speak volumes of the depths of Shariq’s character and

12 willingness to sacrifice for others. It is clear that the selflessness and generosity described by

13 Shariq’s Scale colleagues began at a young age. Shariq’s mother writes of his selflessness even at

14 age four. At a family wedding feast, where four people shared one plate and any leftovers were

15 then given to the poor, Shariq’s grandmother told his mother that he had only eaten boiled rice from

16 the plate. (Ex. A, Letter of Farhana Alvi.) When she asked Shariq why, he explained: “‘Mama, I

17 know that the poor people will take the yummy meat off the rice in these plates but no one will take

18 the rice. It will go to waste. I was just trying to save the rice from being wasted.’” (Id.) She goes

19 on to describe how he always helped classmates, be it by shouldering the burden of group projects,

20 or tutoring others in his free time and during his summers:

21                  Throughout his schooling, he has helped his classmates academically -
                    always pro bono. Many times this would mean taking away from his own
22                  wants and needs. Whether it was helping his high school friend for hours
                    on end preparing him for the SATs or giving up his vacation time to help
23
                    the less fortunate, Shariq always gave from himself for something bigger
24                  than him. Coming back home, to Kashmir, for the summer is a treat for
                    anyone. Summers would be filled with fun trips and outings in the
25                  Himalayan peaks, yet Shariq spent two entire summers traveling with his
                    brother for over an hour, six days a week, giving computer lessons to
26                  underprivileged children who could not afford to these classes. The only
                    return he got was the gleaming faces of the children he taught. He just
27
                    found joy in giving.
28

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 1 (Id.). Shariq’s father describes how he cared for his siblings and left lasting impressions on his

 2 school:

 3
                    He is very giving. Every time he visited home as an adult, he would spend
 4                  a lot of time teaching his younger siblings new things. As president of his
                    high school’s student council, he spent tens of hours a week outside school
 5                  setting up programs to help fellow students. The school continues to have
                    an AP curriculum because of him, and he helped lots of students get over
 6                  their fear of public speaking by setting up a toastmaster’s chapter (the first
                    in the country for minors).
 7

 8 (Ex. A, Letter of Ayaz Majeed.) Perhaps more impressively, Shariq’s father acknowledges that

 9 they often do not agree, but their engagements often educate him and change his mind: “Shariq,

10 quite often confronts and challenges with his point of view, and it reflects his openness, high morals

11
     and fairness. Although, I don’t show it but often I do have to agree with his assertions.” (Id.)
12
             Family members describe a loving person of outstanding character—someone who helps
13
     those near and far, family and stranger alike. His siblings, Ibrahim and F., both provided letters
14

15 describing a brother that they look up to and are inspired by. They too have noticed his generosity

16 of spirit. “Shariq is extremely kind and open-minded and helps anybody who he thinks is in need of

17 his help. He’s always been extremely trustworthy with everything that came in his way.” (Ex. A,

18 Letter of F.). She describes how he has been there throughout her life to play with her as a brother,

19
     motivate her, and encourage her to follow her dreams. Even at the age of fifteen, she sees how out
20
     of character his conduct was and sees his true remorse.
21
             Ibrahim describes how Shariq, older by only a bit over a year, has paved the way for him.
22
     Ibrahim has shouldered the burden of being his bail custodian and staying near the jail when Shariq
23
     was arrested because he is Shariq’s closest relative, both physically (living with him in San
24
     Francisco) and emotionally:
25
                    Shariq strives for honesty above all else, and this is one of our biggest
26
                    ideological differences. Our family is extremely religious and traditional,
27                  and holds plenty of views that both my brother and I disagree with. He
                    made all his views known to our parents, fully aware of the consequences
28                  that would ensue. As a result of this honesty, he has lost a lot of

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 1                   connections and been through incredible hardships. It is much easier to
                     maintain a façade.
 2

 3
     (Exhibit A, Letter of Ibrahim.) It is an altogether rare personality trait to have a person who is
 4
     willing to stand up for views they believe in, even when it is much easier to be quiet or go along
 5
     with the ideas of others.
 6
            Although never one to cite his upbringing as reasons for his behavior, Shariq did not have an
 7

 8 easy childhood, and he grew into the selfless person he is despite challenges, as Ibrahim attests:

 9                   Growing up with a traditional father who had serious anger issues meant
                     frequent bouts of violence against Shariq and myself, and sometimes our
10                   mom. Shariq always got the worst of it, and when he didn’t, he would
11                   make sure to do something to divert the worst of it towards him. He stood
                     up to my dad despite being half his height, and knowing it would not end
12                   well for him, just so that I wouldn’t have to go through it, many, many
                     times. He put himself in harm's way for me, and I will never forget it.
13
     (Id.) Ibrahim also writes of how Shariq introduced him to “hackathons” in college:
14

15                   [Hackathons are] weekend-long events where the goal is to build
                     something to better the world. He was so taken by them, he started a
16                   student organization to promote, organize, and enable access to them. The
                     organization grew to thousands of members and won our school trophies
17                   and acclaim, but he was in it for none of that. It introduced thousands of
                     people to brand new opportunities, but at the cost of his grades slipping.
18

19 (Id.) This dedication to others at the cost of his grades angered his father, but Shariq never gave up.

20 (Id.) Even while enduring the stress of the instant case, Shariq has continued to dedicate himself to

21 helping others:

22
                     I've seen him stay up all night over ten times at hackathons just to mentor
23                   newer people through their problems. While on bail without a curfew,
                     very recently, he wanted to go to UC Berkeley for their annual hackathon
24                   just to mentor. I accompanied him. He didn't sleep for an entire weekend,
                     and stayed at the event helping team after team as I went home twice to
25                   sleep. One would think someone facing potential jail time would have
                     rather different priorities while still free. Shariq truly cares about helping
26
                     others.
27

28

                                                         14
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 1 (Id.) When the two brothers were not living together in San Francisco and Ibrahim faced a personal

 2 crisis about his future and work, he turned to Shariq. After calling him, Shariq flew to San

 3
     Francisco and spent all night awake with his brother to encourage him. His brother began working
 4
     again two weeks later as a result. (Id.) Ibrahim describes how Shariq is always seeking to improve
 5
     himself, however painful it may be. He takes critiques to heart and works to fix his weaknesses.
 6

 7 This case has been no different, “If living with him these past few months has made anything

 8 abundantly clear, it is that he has realized that there was a hole in his moral structure that needed

 9 adjusting, and he has adjusted it.” (Id.)

10          Shariq’s extended family, in the form of three aunts and his grandparents, live outside of
11
     Washington, D.C., and have spent significant amounts of time with him since he moved to the
12
     United States. His aunt Talia, a doctor, writes,
13
                    The Washington, DC area is also home to two of my other sisters
14                  (Shariq’s aunts) and their families, and my parents (Shariq’s
15                  grandparents). Shariq is a frequent presence at our many family
                    gatherings, always with a quiet smile, an ever-present twinkle in his eye,
16                  and a quick-witted sense of humor. I am always impressed with how
                    gently and playfully he cares for and entertains his younger cousins. He
17                  would teach them new games, help them craft experiments, and teach
                    them new concepts.
18

19 (Ex. A, Letter of Talia Alvi.) She describes Shariq’s respect and care for not only those he can

20 teach, but for his elders:

21                  Shariq has always been respectful and helpful to his elders. He would
                    often visit my parents, spending long days, unhurriedly listening to their
22
                    stories, helping them around the house, and introducing them to
23                  technology that made their lives easier. During a family vacation at a
                    rental house, he took charge of cooking some of the meals for a gathering
24                  of over 30 people, which none of the other adult nephews or nieces did. At
                    the time of my children’s weddings, Shariq made time to help with the
25                  many preparations, from hauling boxes to tech support to performing in a
                    goofy skit for the bride and groom. While large families can sometimes be
26
                    overwhelming, Shariq never makes anyone – young or old – feel like they
27                  are wasting his time or like he would rather be somewhere else.

28

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 1 (Id.) Shariq’s aunt Talia knows of his brilliant mind and his recognition by outlets such as NPR and

 2 the New York Times, who have interviewed him about his role in University of Maryland’s

 3
     Hackathons, but she too focuses on his motivation and belief behind his work: “The Shariq I know
 4
     always talks about ideals, bettering the future and working on solving problems facing humanity. In
 5
     conversations, he is a dreamer, always eager to share his ideas, and I have listened in wonder at the
 6

 7 breadth and scope of his vision.” (Id.)

 8          She writes in depth about her shock at his actions, how out of character they were, and his

 9 deep remorse for them:

10                  I am deeply grieved to hear of what Shariq has done. Such an act is
11                  completely unprecedented for Shariq, who has never been in any kind of
                    trouble before, nor has anyone in our family. It was especially shocking
12                  because on top of never showing any sign of greed, Shariq has never been
                    materialistic. He lives very simply in his personal life, to the point of
13                  asceticism. He could fit all of his personal belongings into a single
                    backpack, and would style himself only in jeans, a white t-shirt, and a
14                  jacket – which is actually his mom’s old jacket, which she took off and
15                  gave to him many years ago when he went home for a surprise visit,
                    turning up in the snow in just his t-shirt.
16
                    I am heart-broken that when Shariq was having cash flow problems, he
17                  did not turn to his family for help. I can understand that as a young
                    (potential) immigrant in this country, he may have been reluctant to ask
18                  his parents, perhaps out of a need to prove himself successful in his
19                  father’s eyes. Given the large, close-knit extended family, I am also very
                    regretful that he felt he could not turn to me or his other aunts. It is
20                  possible that, because none of us are earning, he felt it would have been an
                    imposition on his uncles by marriage.
21
                    Shariq is completely devastated by what he has done. In talking with him,
22
                    the deep remorse in his voice is clear, his disappointment in himself
23                  palpable, and there is even almost a sense of shock that he could have
                    done something like this at all. He has sincere regret and feels apologetic
24                  towards Scale and for letting down his parents, friends, and family. It is
                    clear to me that he wants to take full responsibility for his actions and
25                  make reparations to his ex-employer, both for the tangible financial harm
                    and the intangible betrayal of their trust.
26

27                  … Having come to terms with and accepted responsibility for his crime,
                    Shariq is now determined to reevaluate his moral compass, We talked
28                  about his finding a moral code that will not sway with the personal ups

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 1                    and downs of his life. He also understands how he could grow from this
                      experience, learn lessons in discipline and self-control, in responsibility
 2                    and humility, and become a better man.
 3
     (Id.)
 4
               Finally, his aunt Talia conveys the depth of the consequences this crime will have on Shariq,
 5
     independent of any sentence the Court imposes. Acknowledging that Shariq has brought this on
 6

 7 with his own actions, she explains how his immigration consequences will impact not only his

 8 personal future, but the lives of his family members, particularly his elderly grandparents.

 9                    Because of the immigration consequences of his actions, Shariq is already
                      mourning the devastating loss of his career and the separation from
10                    members of his family. He is reeling from the fact that he will be barred
11                    from reentering the country, meaning that he cannot work in Silicon
                      Valley, which is the hub of his profession. To someone of Shariq’s talents
12                    and potential, this is a terrible sentence in and of itself, albeit one he has
                      brought upon his own head. Even more devastatingly, Shariq is devastated
13                    that he may never see his grandparents who reside in the United States
                      again: Shariq is restricted to the Northern California area and my parents,
14                    who are 80 and 86 years old, are unlikely to travel long distances. Also,
15                    Shariq’s paternal grandfather, who lives overseas, is rapidly deteriorating
                      healthwise and is not expected to make it beyond a few more months, and
16                    Shariq is grieving that he most likely will not be able to see that
                      grandfather either before he passes.
17
     (Id.) The letter written by Shariq’s aunt Raida Alvi echoes the sentiments and impressions of
18

19 Shariq. She too was shocked at Shariq’s actions and sees what a deep error in judgment he made in

20 committing his crime: “He regrets immensely his behavior and feels shame that he broke the trust of

21 those who love and trust him. He apologized to me for breaking that trust.” (Ex. A, Letter of Raida

22
     Alvi.)
23
               Shariq’s aunt Faiza, who holds a Masters in Theology and Philosophy and also lives in
24
     Virginia, has similarly gotten the chance to know Shariq even better during his time in the United
25
     States. She writes, “I know Shariq as soft spoken, well-mannered, patient, principled, and a driven
26

27 individual, who seeks through his quiet brilliance to make a change and help humanity in its path

28 upward.” (Ex. A, Letter of Faiza Alvi.) She adds: “There was one thing in particular in Shariq that

                                                         17
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 1 I respected a great deal: his vision of the greater good, his looking beyond his personal or selfish

 2 gains, his lack of desire for money or status for the sake of personal pleasure, thus making him

 3
     selfless, generous, compromising, and firm on his principles.” (Id.) She continues, explaining how
 4
     Shariq had sacrificed a comfortable, well-paying job when he believed the CEO’s priorities did not
 5
     align with his desire to contribute to humanity:
 6
                     His desire to work towards the betterment of human lives was such that it
 7
                     led him to resign from a perfectly good, well-paying job. The CEO did not
 8                   accept a proposal which although [sic] would have been better for the
                     users, was not very lucrative. He felt that the CEO was motivated by
 9                   personal gain instead of contributing to human progress. This was reason
                     enough for him to quit, although it was a definite personal gain for him.
10

11                   When facing the idea of leaving the US, his main concern was that he will
                     not be able to contribute to the world from outside of the US in the same
12                   manner he would here. Even though the truth is that a person with his
                     brilliance and skills would be much more valued and could have a more
13                   luxurious life outside of the US, it does not attract him. He is only
                     concerned that he will not be able to do what he wanted to do for
14                   humanity.
15
     (Id.) As with the rest of his family, Shariq’s aunt Faiza struggled to comprehend that Shariq could
16
     have committed this crime, but believes he is deeply remorseful and eager to move forward and
17
     contribute to the world:
18

19                   Indeed, it is hard to comprehend that such a principled, ethical, upright
                     and selfless person would slip and be facing prison time. The only comfort
20                   I personally feel is his acceptance of his mistake, the remorse that he feels
                     and the resolve to never let anything like this happen again. In fact, being
21                   the genuine, principled and honest person that he is, he told me that he is
                     rethinking his beliefs and values so that he can have a belief system such
22
                     that it will be impossible for this kind of behavior to recur.
23
                     …. I sincerely believe that Shariq is a person who has a lot to give to the
24                   world. Not only is he capable and willing, he has an ardent desire that
                     rules his heart and soul; with his personal comfort and gains as secondary.
25                   Given a second chance, it is my belief that he will not waste it.
26
     (Id.)
27

28

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 1                   iii.     Dedication to Friends and Others in His Life

 2          Shariq’s dedication to others is apparent in all of his letters of support: his desire to help

 3 humanity, his generosity of time and spirit, his thoughtfulness, and his ability to be a good friend

 4
     and mentor to all he comes into contact with. Shariq’s friends, mentors, mentees and others
 5
     submitted far too many letters, 50, for this memorandum to quote them all, but their message is
 6
     clear and consistent.
 7
            The in-depth letter prepared by his close friend Mackenzie Burnett, who has known him for
 8

 9 seven years, sums up many of these characteristics and notes the impact she will feel as a result of

10 Shariq’s likely punishment and deportation. Her description of meeting him in college was set forth

11 above, so it is not reiterated here. Notwithstanding this case, she has no doubt that she will keep

12
     Shariq in her life, and she continues to love and respect him:
13
                    Shariq has big dreams, but also a big heart: he always prioritizes building
14                  meaningful relationships with those around him. He listens deeply and
                    genuinely empathizes with the other person, whether they are in distress or
15                  excited. . .
16
                    Ever since I’ve known Shariq, he has had one driving goal: to become a
17                  U.S. citizen. As an American, he hoped to realize the dreams he had
                    always been dreaming, to engineer a world that uses math and science to
18                  improve the lives of all. He loves this country. He loves his friends, his
                    community, this town, his company, Scale – Shariq is so beloved by his
19                  coworkers (and he has such a distinctive wardrobe) that the entire
20                  company dressed up as Shariq for Halloween – and I know he regrets
                    every day his actions for the harm it caused his former employer and its
21                  employees, for his poor judgment and for jeopardizing everything he
                    values.
22
                    . . . [W]hen Shariq told a group of us that he had pled guilty to stealing
23
                    money from Scale, he ended by saying that he hoped he could one day
24                  earn back our trust. I spoke first and told him that, while what he did was
                    wrong, he never lost my trust, and that we love him. One by one in a
25                  circle, the others in the group echoed me in agreement. It was at this point
                    that Shariq started crying. I know that Shariq deeply regrets his actions,
26                  and he has been working to make amends among his friends and
                    community ever since. If Shariq is imprisoned or is compelled to leave the
27
                    United States forever, I believe it would be a tremendous loss to our
28                  community, and I will miss him deeply. I will miss him at my wedding, I
                    will miss him babysitting my future children, I will miss our early
                                                        19
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 1                 morning coffees and late-night daydreams. He will, however, no matter
                   the barrier, always be my friend.
 2
     (Ex. C, Letter of Mackenzie Burnett.)
 3

 4          Shariq’s impact on others has been profound, and even at a young age, he has changed lives.

 5 Sashank Thupukari is one of those lives. Sashank met Shariq when Sashank was only a junior in

 6 high school. Shariq was a junior in college at the time and had organized a large bus from the

 7
     university to a programming competition several states away. Shariq had allowed several high
 8
     schoolers, including Sashank, to come along for the trip. In Sashank’s words, “My friends and I sat
 9
     next to him during the bus ride – a chance encounter which heavily affected my path in life.” (Ex.
10

11 C, Letter of Sashank Thurpukari.) His heartfelt letter describes not only how they met, but the

12 enormous impact Shariq had on his life, how what began as a mentorship grew into a lifelong

13 friendship, his shock at Shariq’s actions, and his deep sense of loss:

14                 During the trip, Shariq inspired us. He told us about the value of being
15                 able to program and build our ideas and encouraged us to learn how to
                   code. He told us about the hundreds of projects he had built and the
16                 technologies he was working with. He was then interning at a virtual
                   reality company and let us try on the headset he had. He helped us
17                 brainstorm ideas during the competition and navigate several issues we
                   were having. In the end, we walked away hooked on programming. . .
18

19                 His sole purpose throughout college was to inspire and teach as many
                   students as possible. He believed that students had the potential to have a
20                 bigger impact and be able to teach themselves to build things from just
                   ideas. This was a new concept at our university – we didn't have a history
21                 of CEOs and accomplished programmers from our school, so it was hard
                   to be inspired to do more. Shariq took it into his own hands to change this
22
                   – he spent year after year going student to student and convincing them to
23                 try building things. He taught free classes in the evenings and set up an
                   organization, which became the biggest on campus, dedicated to coding
24                 and teaching students practical programming skills.

25                 . . . After knowing Shariq for so long and seeing him help hundreds of
                   people, I was shocked to hear about his case. I was in a state of disbelief –
26
                   it didn't make sense why he would do what he did. It was extremely out of
27                 character. Shariq has a history of selflessly giving. He gave his all to his
                   peers in University and gave his all again at all the companies he worked
28                 at and the communities he's been a part of since, always focused on

                                                      20
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 1                 helping people reach their potentials. When I worked with Shariq
                   professionally, all of his co-workers respected his work ethic and the way
 2                 he supported everyone around him.
 3
                   . . . I struggle to describe the impact Shariq has had on my life and so
 4                 many of my friends. I wish I could more clearly show how much he cares
                   for others and how much ambition he had. Even after knowing what his
 5                 future holds for him after this case, Shariq was still working tirelessly to
                   help others. We went to yet another local programming competition
 6                 together and spent 48 hours without sleeping helping students build their
                   projects. He's still spending his days learning about robotics and hopes he
 7
                   can still help people with technology, even though he'll have many more
 8                 obstacles with his mistake.

 9 (Id.) As is the case with all of those in Shariq’s life, Sashank struggles to convey the import of

10 Shariq in his life and is eager to support him and welcome him back after this case is over.

11
            While it is unsurprising to have close friends write in support of someone, Shariq inspires
12
     love and support from even those whom he has just met, even those skeptical of him as a result of
13
     having heard about this case before meeting him. Ali Rohde met Shariq for the first time just weeks
14

15 after he had been released from jail. They had mutual friends in common and, new to the city, Ali

16 attended a dinner that Shariq was preparing along with her coworker, Tina. Ali writes that she was

17 skeptical of Shariq, having heard what he had done and the impact it had had on his friends. She

18 went in to the dinner intending not to give him a chance. “All the good things I had heard about

19
     him for months were overshadowed by the fact that he had just been accused of stealing thousands
20
     of dollars from the company he helped build.” (Ex. C., Letter of Ali Rohde.) She continues:
21
                   However, within minutes of sitting down and talking to Shariq, my initial
22
                   wariness of him had vanished.
23
                   Over the past few years, I’ve realized that being warm, thoughtful, and
24                 attentive to those around you – especially to someone you’ve just met –
                   can be challenging, even when everything is going well. This is
25                 particularly true for people who are my and Shariq’s age. We’re all so
                   obsessed with our jobs; our friends; our dating life; our futures. It can be
26
                   hard for us to put aside our own concerns and put ourselves in someone
27                 else’s shoes for a little while.

28

                                                      21
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 1                  If this is hard to accomplish when everything is going well, then it is
                    nearly impossible to do when things are going poorly. And, for the entirety
 2                  of my relationship with Shariq, things have not been going well. . .
 3
                    Yet, based on how he has treated me and everyone else around him, you
 4                  would have no idea. Every time we speak, he asks how I’m doing. He asks
                    me how I’m liking my job; whether there’s anything new going in my
 5                  romantic life; even how my Improv 101 graduation show went, and if
                    there was any footage of the performance (I lied and said no). He asks if
 6                  there is anything he can do to support me. He puts aside his immense
                    stress and fear to show up at my and others’ birthday parties and important
 7
                    events because he believes in being there for others.
 8
                    …. If Shariq is imprisoned or forced to leave this country, it will truly be
 9                  our country’s loss, and I and so many others will be worse off. In fact,
                    though I feel guilty even thinking it, the one silver lining to this whole
10                  mess is that I’ve gotten the chance to know Shariq better and spend more
11                  time with him.

12           (Id.) Similarly, though Shariq and Tejas Manohar only met two and a half years ago and

13 have only met in person a handful of times, Tejas writes of how Shariq has profoundly impacted his

14 life:

15
                    I’ve only known Shariq for around 2.5 years and have only met him a
16                  handful of times, but every interaction has been so memorable and
                    impactful on my life that in many ways, he’s quickly become a role model
17                  for me.
18                  . . . Every time I met Shariq, he has actively pushed me to step out of my
19                  comfort zone and stretch myself, and while I never talked to him when I
                    made the decision to leave my job in May, I would say he was one of the
20                  biggest catalysts for this. Lastly, Shariq has a great heart. While I can
                    confidently say Shariq is much sharper than me, I have never once felt
21                  threatened in his presence and have always felt like he was there to help
                    me grow, whether that’s through pushing me to leave my job or
22
                    encouraging me to not be embarrassed, loosen up, and dance at a party. In
23                  my experience, it is rare to find someone so impressive that is also so
                    caring, down-to-earth, and not even a bit arrogant.
24
                    . . . While I understand Shariq has committed a very serious federal crime,
25                  I am confident that he deeply regrets the decisions he made, takes full
                    responsibility, has learned his lesson, and will never do anything like this
26
                    again. I believe Shariq is a great asset to our world with a great soul and
27                  that it would truly be a shame for him to be imprisoned or have to leave
                    the country.
28

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 1 (Ex. C, Letter of Tejas Manohar.) This multitude of letters demonstrates that Shariq’s quintessential

 2 self seeks to better society and improve the lives of those around him. This crime was a completely

 3
     aberrant event in his life and one that will not be repeated. Shariq is eager to resume a life of trying
 4
     to contribute to humanity.
 5
     3.     The Remaining 18 U.S.C. § 3553(a) Factors Support a Non-Custodial Sentence
 6
            In arriving at a sentence that is “sufficient but not greater than necessary” to comply with the
 7

 8 purposes of federal sentencing, the Court needs to consider a number of other factors, including:

 9 (1) the nature and circumstances of the offense; and (2) the need for the sentence imposed (a) to

10 reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment

11 for the offense, (b) to afford adequate deterrence to criminal conduct, and (c) to protect the public

12
     from further crimes of the defendant. 18 U.S.C. § 3553(a). The following is a discussion of how
13
     those factors, the most relevant ones here other than Shariq’s personal history and characteristics
14
     discussed above, support the defense’s requested sentence.
15

16                  a.      The Nature and Circumstances of the Offense

17          The nature and circumstances of the offense weigh in favor of leniency and the requested

18 sentence of 100 hours of community service. Shariq acknowledges that he engaged in criminal

19 conduct and is guilty of a serious criminal offense, a federal felony. In this case, he pleaded guilty

20 to violating a single count of wire fraud in violation of 18 U.S.C. § 1343 based on his theft of

21 $56,111.03 from his then-employer Scale. Further, Shariq does not dispute the importance of the

22 law he violated, he knows how serious financial and fraud crimes are, and he sincerely regrets his

23 illegal conduct, which is why he quickly agreed to a pre-indictment plea deal upon his arrest on a

24 complaint.

25          There are several reasons, however, why the nature and circumstances of the crime support a

26 non-custodial sentence: the amount of money stolen in this case is relatively small (approximately

27 $56,000); this was a non-violent crime; he did not steal from a vulnerable victim (like an elderly

28 person); and he did not live lavishly as a result of his crime. Shariq, in fact, continued with his

                                                        23
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 1 modest existence. Taken all together, these factors support a sentence significantly lower than

 2 sentencing range of 8 to 14 months—they support the requested non-custodial sentence.

 3                  b.    The Requested Non-Custodial Sentence Will Afford Adequate Deterrence,
                          Reflect the Seriousness of the Offense, Promote Respect For the Law,
 4                        Provide Just Punishment For the Offense, and Protect the Public from
                          Future Crimes
 5

 6          The remaining relevant § 3553(a) factors also support the imposition of the requested non-

 7 custodial sentence, particularly when considered together with Shariq’s history and characteristics.5

 8 Shariq has suffered a very significant and publicized downfall that will serve as more than adequate

 9 deterrence for others.6 Further, as a result of his crime, he suffered a number of other meaningful

10 collateral consequences, such as the loss of his well-paying job ($135,000 a year) and significant

11 stock options (potentially worth $1.2 million), as well as the foreclosure of innumerable future

12 professional opportunities, since many companies will not want to hire someone who stole from his

13 previous employer, no matter how gifted they are or the aberrant nature of the crime. The latter is

14 particularly devastating to someone at the start of their professional career, like Shariq.

15          And as a result of whatever sentence the Court imposes, his status as a felon (even though he

16 is not a U.S. citizen) will also ripple throughout his life. Shariq will almost surely never be able to

17 return to the United States, a country where he had hoped to reside forever and where he has close

18 family, including the grandparents he may never see again as a result. His felon status will almost

19 certainly foreclose his ability to even visit the United States (the major hub of the technology

20 world), including to attend technology-related events that would advance his career.

21          Moreover, as a non-U.S. citizen, Shariq is likely not eligible to serve his time in a federal

22 camp facility. This makes any stay in federal custody harsher for Shariq than for nearly any other

23

24
     5
    This sentencing memorandum does not address factor § 3553(a)(2)(D), which concerns things like
25 educational or vocational training, because this factor does not appear relevant to Shariq’s case.

26   6
     See, e.g., Duncan Riley, Startup employee thief caught after sending funds to verified PayPal
27 account, siliconAngle (August 19, 2019), https://siliconangle.com/2019/08/19/startup-employee-
   thief-caught-sending-funds-verified-paypal-account/ and Justin Rohrlich, A cybercriminal covered
28 all his tracks – and then he verified his PayPal account, Quartz Membership (August 15, 2019),
   https://qz.com/1688427/fbi-used-paypal-verification-history-to-track-cybercriminal/
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 1 defendant in his shoes (and more costly to the Bureau of Prisons). Shariq has and will continue to

 2 suffer direct and significant consequences throughout the rest of his life, regardless of the sentence

 3 imposed. The price he has already paid, and will keep paying even if not incarcerated, is enough to

 4 satisfy the relevant § 3553(a) factors in light of all other circumstances.

 5          Lastly, neither imprisonment nor other forms of custody are needed to protect the public

 6 from future crimes. Based on his lack of criminal history and personal characteristics, Shariq poses

 7 the lowest possible risk of recidivism. More importantly, as the letters of support attest, Shariq has

 8 learned his lesson and made the changes necessary within himself to make this case a one-time

 9 aberration. As such, Shariq presents no risk of reoffending and any form of custody is wholly

10 unnecessary to protect the public.

11                                             CONCLUSION

12          Shariq knows that his crime represents a tremendous failure on his part, which he will carry

13 with him the rest of his life. That said, he has accepted full responsibility for his conduct, he has

14 promptly repaid Scale and refused to take the severance offered to him (even after they discovered

15 his crime), he is sincerely remorseful for what he has done, and he is dedicated to being a

16 productive and law-abiding citizen. All indications are that he will never do anything like this again

17 and can be a valuable and contributing member of society. A non-custodial sentence of 100 hours

18 of community service for Shariq would be sufficient, but not greater than necessary, to achieve all

19 the goals of federal sentencing as outlined in § 3553(a).

20    DATED: February 11, 2020                      Respectfully submitted,

21                                                    /s/ Brian E. Klein
                                                    BRIAN E. KLEIN
22
                                                    ASHLEY E. MARTABANO
23                                                  Baker Marquart LLP
                                                    777 S. Figueroa Street, Suite 2850
24                                                  Los Angeles, California 90017
                                                    Telephone: (424) 652-7800
25                                                  Attorneys for Shariq Hashme
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